[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
In this matter summary judgments as to liability were entered CT Page 4739 against the defendants. Following a hearing in damages at which the pro-se defendants did not attend, the Court enters judgment as follows:
As to Lisa Black (first count):
           Economic Damages      $ 100 Non Economic Damages    900
Total damages as to Lisa Black — $1000.
As to George W. Horn, Jr. (second count):
           Economic Damages      $14,436.38 Non Economic Damages   46,000.00
Total damages as to George W. Horn, Jr. — $60,436.38
Klaczak, J.